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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TRUE HEALTH CHIROPRACTIC, INC.,
an Ohio corporation, individually and as the

representative of a class of similarly-situated
persons,

Civil Action No.:
Plaintiff,
Vv.
PHILADELPHIA CONSOLIDATED
HOLDING CORP., PHILADELPHIA

INSURANCE COMPANIES and JOHN
DOES 1-10,

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) CLASS ACTION

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Defendants. )

CLASS ACTION COMPLAINT

Plaintiff, TRUE HEALTH CHIROPRACTIC, INC. (“Plaintiff”), brings this action on
behalf of itself and all others similarly situated, through its attorneys, and except as to those
allegations pertaining to Plaintiff or its attorneys, which allegations are based upon personal
knowledge, alleges the following upon information and belief against Defendants,
PHILDELPHIA CONSOLIDATED HOLDING CORP., PHILDELPHIA INSURANCE
COMPANIES and JOHN DOES 1-10 (“Defendants”).

PRELIMINARY STATEMENT

1. This case challenges Defendants’ practice of sending unsolicited facsimiles.

2. The federal Telephone Consumer Protection Act of 1991, as amended by the Junk
Fax Prevention Act of 2005, 47 USC § 227 (“JFPA” or the “Act”), and the regulations
promulgated under the Act, prohibits a person or entity from faxing or having an agent fax

advertisements without the recipient’s prior express invitation or permission. The JFPA provides

a private right of action and provides statutory damages of $500 per violation. Upon information

 
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and belief, Defendants have sent facsimile transmissions of unsolicited advertisements to
Plaintiff and the Class in violation of the JFPA, including, but not limited to, the facsimile
transmission of an unsolicited advertisement on March 28, 2011 (“the Fax”), a true and correct
copy of which is attached hereto as Exhibit A and made a part hereof. The Faxes promote the
services and goods of Defendants. Plaintiff is informed and believes, and upon such information
and belief avers, that Defendants have sent, and continue to send, unsolicited advertisements via
facsimile transmission in violation of the JFPA.

3. Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its
fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that
would have been spent on something else. A junk fax interrupts the recipient’s privacy.
Unsolicited faxes prevent fax machines from receiving authorized faxes, prevent their use for
authorized outgoing faxes, cause undue wear and tear on the recipients’ fax machines, and
require additional labor to attempt to discern the source and purpose of the unsolicited message.

4. On behalf of itself and all others similarly situated, Plaintiff brings this case as a
class action asserting claims against Defendants under the JFPA.

5. Plaintiff is informed and believes, and upon such information and belief avers,
that this action is based upon a common nucleus of operative fact because the facsimile
transmissions at issue were and are being done in the same or similar manner. This action is
based on the same legal theory, namely liability under the JFPA. This action seeks relief
expressly authorized by the JFPA: (i) injunctive relief enjoining Defendants, their employees,
agents, representatives, contractors, affiliates, and all persons and entities acting in concert with

them, from sending unsolicited advertisements in violation of the JFPA; and (ii) an award of

 
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statutory damages in the minimum amount of $500 for each violation of the JFPA, and to have
such damages trebled, as provided by § 227(b)(3) of the Act.
JURISDICTION AND VENUE

6. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C. §
227.

7. Venue is proper in this District because Defendants committed a statutory tort
within this district, a significant portion of the events took place within this District, and
Defendants have their principal place of business within this District.

PARTIES

8. Plaintiff TRUE HEALTH CHIROPRACTIC, INC. is an Ohio corporation with its
principal place of business located in Ohio.

9. On information and belief, Defendant, PHILADELPHIA CONSOLIDATED
HOLDING CORP. is a Pennsylvania holding corporation with its principal place of business in
Bala Cynwyd, Pennsylvania.

10. On information and belief, PHILADELPHIA INSURANCE COMPANIES is a
Pennsylvania corporation with its principal place of business in Bala Cywyd, Pennsylvania and is
the marketing name for the insurance company subsidiaries of the PHILADELPHIA
CONSOLIDATED HOLDING CORP.

11. John Does 1-10 will be identified through discovery, but are not presently known.

FACTS

12. On or about March 28, 2011, Defendants transmitted by telephone facsimile

machine an unsolicited fax to Plaintiff. A copy of each of the facsimile is attached hereto as

Exhibit A.

 
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13. Defendants created or made Exhibit A which Defendants knew or should have
known is a good or product which Defendants intended to and did in fact distribute to Plaintiff
and the other members of the class.

14. Exhibit A is part of Defendants’ work or operations to market Defendants’ goods
or services which were performed by Defendants and on behalf of Defendants. Therefore,
Exhibit A constitutes material furnished in connection with Defendants’ work or operations.

15. Plaintiff had not invited or given permission to Defendants to send the faxes.

16. On information and belief, Defendants faxed the same and similar unsolicited
facsimiles to Plaintiff and more than 25 other recipients without first receiving the recipients’
express permission or invitation.

17. There is no reasonable means for Plaintiff (or any other class member) to avoid
receiving unauthorized faxes. Fax machines are left on and ready to receive the urgent
communications their owners desire to receive.

18. Defendants’ facsimiles did not display a proper opt-out notice as required by 47
C.F.R. § 64.1200.

CLASS ACTION ALLEGATIONS

19. In accordance with F. R. Civ. P. 23(b)(1), (b)(2) and (b)(3), Plaintiff brings this

class action pursuant to the JFPA, on behalf of the following class of persons:
All persons who (1) on or after four years prior to the filing of this
action, (2) were sent telephone facsimile messages of material
advertising the commercial availability of any property, goods, or
services by or on behalf of Defendants, (3) from whom Defendants did
not obtain prior express permission or invitation to send those faxes, (4)

with whom Defendants did not have an established business
relationship, and (5) did not display a proper opt-out notice.

 
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Excluded from the Class are the Defendants, their employees, agents and members of the
Judiciary. Plaintiff reserves the right to amend the class definition upon completion of class
certification discovery.

20. Class Size (F. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon
such information and belief avers, that the number of persons and entities of the Plaintiff Class is
numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and
upon such information and belief avers, that the number of class members is at least forty.

21. Commonality (F. R. Civ. P. 23 (a) (2)): Common questions of law and fact apply
to the claims of all class members. Common material questions of fact and law include, but are
not limited to, the following:

a) Whether the Defendants sent unsolicited fax advertisements;

b) Whether the Defendants’ faxes advertised the commercial availability of
property, goods, or services;

c) The manner and method the Defendants used to compile or obtain the list
of fax numbers to which they sent Exhibit "A" and other unsolicited faxed
advertisements;

d) Whether the Defendants faxed advertisements without first obtaining the
recipient's prior permission or invitation; |

e) Whether the Defendants sent the faxed advertisements knowingly;

f) Whether the Defendants violated the provisions of 47 U.S.C. § 227 and

the regulations promulgated thereunder;

 
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g) Whether the faxes contain an “opt-out notice” that complies with the
requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,
and the effect of the failure to comply with such requirements;

h) Whether the Defendants should be enjoined from faxing advertisements in
the future;

i) Whether the Plaintiff and the other members of the class are entitled to
statutory damages; and

j) Whether the Court should award treble damages.

22.  Typicality (F. R. Civ. P. 23 (a) (3)): The Plaintiff's claims are typical of the

 

claims of all class members. The Plaintiff received faxes sent by or on behalf of the Defendants
advertising goods and services of the Defendants during the Class Period. The Plaintiff is making
the same claims and seeking the same relief for itself and all class members based upon the same
federal statute. The Defendants have acted the same or in a similar manner with respect to the
Plaintiff and all the class members.

23. Fair and Adequate Representation (F. R. Civ. P. 23 (a) (4)): The Plaintiff will
fairly and adequately represent and protect the interests of the class. It is interested in this matter,
has no conflicts and has retained experienced class counsel to represent the class.

24. Need for Consistent Standards and Practical Effect of Adjudication (F. R. Civ. P.
23 (b) (1): Class certification is appropriate because the prosecution of individual actions by
class members would: (a) create the risk of inconsistent adjudications that could establish
incompatible standards of conduct for the Defendants, and/or (b) as a practical matter,
adjudication of the Plaintiff's claims will be dispositive of the interests of class members who are

not parties.

 
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25. Common Conduct (F. R. Civ. P. 23 (b) (2)): Class certification is also

appropriate because the Defendants have acted and refused to act in the same or similar manner

with respect to all class members thereby making injunctive and declaratory relief appropriate.

The Plaintiff demands such relief as authorized by 47 U.S.C. §227.

26. | Predominance and Superiority (F. R. Civ. P. 23 (b) (3)): Common questions of

law and

fact predominate over any questions affecting only individual members, and a class

action is superior to other methods for the fair and efficient adjudication of the controversy

because:

a) Proof of the claims of the Plaintiff will also prove the claims of the class without
the need for separate or individualized proceedings;
b) Evidence regarding defenses or any exceptions to liability that the Defendants
may assert and prove will come from the Defendants’ records and will not require
individualized or separate inquiries or proceedings;
c) | The Defendants have acted and are continuing to act pursuant to common policies
or practices in the same or similar manner with respect to all class members;
d) The amount likely to be recovered by individual class members does not support
individual litigation. A class action will permit a large number of relatively small claims
involving virtually identical facts and legal issues to be resolved efficiently in one (1)
proceeding based upon common proofs; and
e) This case is inherently manageable as a class action in that:

(i) The Defendants identified persons or entities to receive the fax
transmissions and it is believed that the Defendants’ computer and business records will

enable the Plaintiff to readily identify class members and establish liability and

 
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damages;

(ii) Liability and damages can be established for the Plaintiff and the class
with the same common proofs;

(iii) | Statutory damages are provided for in the statute and are the same for all
class members and can be calculated in the same or a similar manner;

(iv) A class action will result in an orderly and expeditious administration of
claims and it will foster economics of time, effort and expense;

(v) A class action will contribute to uniformity of decisions concerning the
Defendants’ practices; and

(vi) As a practical matter, the claims of the class are likely to go unaddressed
absent class certification.

COUNT I
Claim for Relief for Violation of the JFPA, 47 U.S.C. § 227 et seq.

27. Plaintiff and the Plaintiff Class reassert and incorporate herein by reference the

averments set for in paragraphs 1-26 above.

28. The JFPA makes unlawful for any person to "use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement ..." 47 U.S.C. § 227(b)(1)(C).

29. The JFPA defines "unsolicited advertisement" as "any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person's prior express invitation or permission, in writing or otherwise." 47

U.S.C. § 227 (a) (5).

30. Opt-Out Notice Requirements. The JFPA strengthened the prohibitions against

 
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the sending of unsolicited advertisements by requiring, in §(b)(1)(C)(iii) of the Act, that senders
of faxed advertisements place a clear and conspicuous notice on the first page of the transmission
that contains the following among other things (hereinafter collectively the “Opt-Out Notice

Requirements”):

1. a statement that the recipient is legally entitled to opt-out of receiving .

future faxed advertisements — knowing that he or she has the legal right to request
an opt-out gives impetus for recipients to make such a request, if desired;

2. a statement that the sender must honor a recipient’s opt-out request within
30 days and the sender’s failure to do so is unlawful — thereby encouraging
recipients to opt-out, if they did not want future faxes, by advising them that their
opt-out requests will have legal “teeth”;

3. a statement advising the recipient that he or she may opt-out with respect
to all of his or her facsimile telephone numbers and not just the ones that receive a
faxed advertisement from the sender — thereby instructing a recipient on how to
make a valid opt-out request for all of his or her fax machines;

The requirement of (1) above is incorporated from § (b)(D)Gi) of the Act. The
requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and
regulations of the Federal Communications Commission (the “FCC”) in 31 of its 2006 Report
and Order (in the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act, Junk Prevention Act of 2005, 21 F.C.C.R. 3787, 2006 WL 901720, which rules
and regulations took effect on August 1, 2006). The requirements of (3) above are contained in §
(b)(2)(E) of the Act and incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii).

Compliance with the Opt-Out Notice Requirements is neither difficult nor costly. The Opt-Out

 
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Notice Requirements are important consumer protections bestowed by Congress upon the
owners of fax machines giving them the right, and means, to stop unwanted faxed
advertisements.

31. 2006 FCC Report and Order. The JFPA, in § (b)(2) of the Act, directed the
FCC to implement regulations regarding the JFPA, including the JFPA’s Opt-Out Notice
Requirements and the FCC did so in its 2006 Report and Order, which in addition provides
among other things:

A. The definition of, and the requirements for, an established business
relationship for purposes of the first of the three prongs of an.exemption to liability under §
(b)(1)(C)(i) of the Act and provides that the lack of an “established business relationship”
precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006
Report and Order {8-12 and 17-20);

B. The required means by which a recipient’s facsimile telephone number
must be obtained for purposes of the second of the three prongs of the exemption under §
(b)(1)(C)Gi) of the Act and provides that the failure to comply with these requirements precludes
the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006 Report and
Order 13-16);

C, The things that must be done in order to comply with the Opt-Out Notice
Requirements for the purposes of the third of the three prongs of the exemption under §
(b)(1)(C)(Giii) of the Act and provides that the failure to comply with these requirements
precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (See 2006
Report and Order 9724-34);

D. The failure of a sender to comply with the Opt-Out Notice Requirements

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precludes the sender from claiming that a recipient gave “prior express permission or invitation”
to receive the sender’s fax (See Report and Order 948);

As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-
Out Notice Requirements has, by definition, transmitted an unsolicited advertisement under the
JFPA. This is because such a sender can neither claim that the recipients of the faxed
advertisement gave “prior express permission or invitation” to receive the fax nor can the sender
claim the exemption from liability contained in § (b)(C)(1) of the Act.

32. The Fax. Defendant sent the March 28, 2011 Fax via facsimile transmission
from telephone facsimile machines, computers, or other devices to the telephone facsimile
machines of Plaintiff and members of the Plaintiff Class. The Fax constituted an advertisement
under the Act. Defendants failed to comply with the Opt-Out Requirements in connection with
the Faxes, which contained no Opt-Out notice whatsoever. The Fax was transmitted to persons
or entities without their prior express permission or invitation and/or Defendants are precluded
from asserting any prior express permission or invitation because of the failure to comply with
the Opt-Out Notice Requirements. By virtue thereof, Defendants violated the JFPA and the
regulations promulgated thereunder by sending the Fax via facsimile transmission to Plaintiff
and members of the Class.

33. Defendant’s Other Violations. Plaintiff is informed and believes, and upon such
information and belief avers, that during the period preceding four years of the filing of this
Complaint and repeatedly thereafter, Defendants have sent via facsimile transmission from
telephone facsimile ‘machines, computers, or other devices to telephone facsimile machines of
members of the Plaintiff Class faxes that constitute advertisements under the JFPA that were

transmitted to persons or entities without their prior express permission or invitation (and/or that

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Defendants are precluded from asserting any prior express permission or invitation because of
the failure to comply with the Opt-Out Notice Requirements in connection with such
transmissions). By virtue thereof, Defendants violated the JFPA and the regulations promulgated
thereunder. Plaintiff is informed and believes, and upon such information and belief avers, that
Defendants are continuing to send unsolicited advertisements via facsimile transmission in
violation of the JFPA and the regulations promulgated thereunder, and absent intervention by
this Court, will do so in the future.

34. The TCPA/JFPA provides a private right of action to bring this action on behalf
of Plaintiff and the Plaintiff Class to redress Defendants’ violations of the Act, and provides for
statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is
appropriate. Id.

35. The JFPA is a strict liability statute, so the Defendants are liable to the Plaintiff
and the other class members even if their actions were only negligent.

36. | The Defendants knew or should have known that (a) the Plaintiff and the other
class members had not given express invitation or permission for the Defendants or anybody else
to fax advertisements about the Defendants’ goods or services; (b) the Plaintiff and the other
class members did not have an established business relationship; (c) Defendants transmitted an
advertisement; and (d) the Faxes did not contain the required Opt-Out Notice.

37, The Defendants’ actions caused damages to the Plaintiff and the other class
members. Receiving the Defendants’ junk faxes caused the recipients to lose paper and toner
consumed in the printing of the Defendants’ faxes. Moreover, the Defendants’ faxes used the
Plaintiff's fax machine. The Defendants’ faxes cost the Plaintiff time, as the Plaintiff and its

employees wasted their time receiving, reviewing and routing the Defendants’ unauthorized

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faxes. That time otherwise would have been spent on the Plaintiff's business activities. The
Defendants’ faxes unlawfully interrupted the Plaintiffs and other class members’ privacy
interests in being left alone. Finally, the injury and property damage sustained by Plaintiff and
the other class members from the sending of Defendants’ advertisements occurred outside of
Defendants’ premises.

WHEREFORE, Plaintiff, TRUE HEALTH CHIROPRACTIC, INC., individually and on
behalf of all others similarly situated, demands judgment in its favor and against Defendants,
PHILADELPHIA CONSOLIDATED HOLDING CORP., PHILADELPHIA INSURANCE
COMPANIES and JOHN DOES 1-10, jointly and severally, as follows:

A. That the Court adjudge and decree that the present case may be properly
maintained as a class action, appoint the Plaintiff as the representative of the class and appoint
the Plaintiff's counsel as counsel for the class;

B. That the Court award actual monetary loss from such violations or the sum of five
hundred dollars ($500.00) for each violation, whichever is greater;

C. That Court enjoin the Defendants from additional violations; and

D. That the Court award pre-judgment interest, costs and such further relief as the
Court may deem just and proper.

Respectfully submitted,
CALDWELL LAW OFFICE LLC

By: s/Ann Caldwell
Ann Caldwell

 

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and

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EXHIBIT A

 
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Good Morming Dr Shope,

Philadelphia Insurance has a product designed specifically for Chiropractor’s Professional
Liability (Medical Malpractice) and I'd like to provide you with a competitive quote at your next
insurance renewal.

Please find the altached brochure on our product, Philadelphia is able to quote your Professional
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wall in case you need one. Our pricing is typically around $1200-$1500 per chiropractor; this js
simply an estimate, in order to offer you firm terns wa would need our application completed and
returned.

We typically work 30-60 days out from the expiration (if you renew July 1" that would bring us
batk into the first part of May) to work on the quote. Please let me know if you have any
questions upon review of this information or if you are interested in a quote. If you let me know
when your current policy comes up for renewal, | will be happy to follow up with you prior fo that
date,

Thank you for your time!

Ashley Birchmeler, ARM
Marketing Representative

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